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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1661V
                                        (not to be published)


    TAMMY SWEENEY,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: June 24, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On November 23, 2020, Tammy Sweeney filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration as a result of an influenza vaccine that was administered to her on October
24, 2019. (Petition at 1). On April 27, 2022, a decision was issued awarding compensation
to Petitioner based on the Respondent’s proffer. (ECF No. 31).




1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated May 5, 2022,
(ECF No. 35), requesting a total award of $15,206.45 (representing $14,761.45 in fees
and costs incurred by Petitioner’s counsel at Turning Point Litigation and $445.00 in fees
and costs incurred by Petitioner’s counsel while handling the matter at Ward Black Law).
In accordance with General Order No. 9, Petitioner filed a signed statement indicating
that Petitioner incurred no out-of-pocket expenses. (ECF No. 35-3). Respondent reacted
to the motion on May 9, 2022, indicating that he is satisfied the statutory requirements for
an award of attorneys’ fees and costs are met in this case, deferring resolution of the
amount to be awarded to my discretion. (ECF No. 36). Petitioner filed a reply on May 9,
2022, requesting the Court exercise discretion and determine a reasonable award. (ECF
No. 37).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $15,206.45 (representing $14,761.45 in fees and costs incurred by
Petitioner’s counsel at Turning Point Litigation and $445.00 in fees and costs incurred by
Petitioner’s counsel while handling the matter at Ward Black Law), as a lump sum in the
form of a check jointly payable to Petitioner and Petitioner’s counsel. In the absence of a
timely-filed motion for review (see Appendix B to the Rules of the Court), the Clerk shall
enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
